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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   CRYSTAL HILSLEY,                                     Case No.: 3:18-cv-00395-L-BLM
12                                       Plaintiff,
                                                          CLASS ACTION
13   v.
                                                          ORDER GRANTING JOINT
14   GENERAL MILLS, INC. et al.,
                                                          MOTION
15                                    Defendants.
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17         For good cause shown, the Joint Motion to Set Further Case Deadlines (doc. no.
18   39) is granted. Accordingly, it is ordered as follows:
19         1.     No later than August 28, 2020, Plaintiff shall file an amended complaint.
20          2.    No later than September 4, 2020, Plaintiff shall file a motion for preliminary
21   approval of class action settlement.
22         3.     All other litigation activity in this action is stayed while the parties finalize
23   their settlement and related briefing. All remaining Court-set dates are vacated.
24         IT IS SO ORDERED.
25   Dated: July 13, 2020
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